CLEVELAND TRINIDAD PAVING CO. OF DELAWARE, PETITIONER, v. COMMISSIONER OF INTERNAL REVENUE, RESPONDENT.Cleveland Trinidad Paving Co. v. CommissionerDocket No. 17294.United States Board of Tax Appeals14 B.T.A. 1209; 1929 BTA LEXIS 2976; January 11, 1929, Promulgated 1929 BTA LEXIS 2976"&gt;*2976  There being no agreement between the petitioner and its affiliated corporation as to the assessment of the tax, it should be assessed in accordance with the net income of the corporations as provided in section 240(b) of the Revenue Acts of 1918 and 1921.  Charles D. Hamel, Esq., and Lee I. Park, Esq., for the petitioner.  R. W. Wilson, Esq., for the respondent.  TRAMMELL 14 B.T.A. 1209"&gt;*1209  This is a proceeding for the redetermination of deficiencies in income and profits taxes for 1920 and 1921 in the amounts of $17,912.15 and $47,987.24, respectively.  Aside from errors assigned on the merits, there was assigned as error the action of the respondent in determining the deficiencies against this petitioner under the facts stated.  FINDINGS OF FACT.  The petitioner is a Delaware corporation.  For 1920 and 1921 it was affiliated with and filed a consolidated return with the Cleveland Trinidad Paving Co. of Ohio.  For 1920 the consolidated return showed a net income of $17,820.49 and a tax thereon of $1,582.04.  For 1921 the consolidated return showed a net income of $204,860.96 and a tax thereon of $60,636.34.  The respondent, in his notice of deficiency, 1929 BTA LEXIS 2976"&gt;*2977  determined the deficiencies here involved against the petitioner.  There was no agreement between the corporations with respect to the payment of the tax shown due upon the consolidated return for either of the years involved.  The entire taxable income for both years was the income of the Ohio corporation and not of the petitioner.  OPINION.  TRAMMELL: Upon the authority of , and , the issue here presented must be decided in favor of the petitioner.  There being no agreement between the corporations included in the consolidated return, section 240(b) of the Revenue Acts of 1918 and 1921 provides that the tax shall be assessed in accordance with the net income of the corporations.  The petitioner having no income, no part of the tax should be assessed against it.  In view of our holding on this point, it is unnecessary for us to determine the issues on the merits, the facts relating to which were 14 B.T.A. 1209"&gt;*1210  stipulated.  We consider it unnecessary to incorporate those facts into our findings.  Judgment for the petitioner.